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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11                                                  Case No.: 3:16-cv-03044-L-KSC
12   IN RE ILLUMINA, INC.                           SCHEDULING ORDER
13   SECURITIES LITIGATION                          REGULATING DISCOVERY
                                                    AND OTHER PRE-TRIAL
14
                                                    PROCEEDINGS
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17           Pursuant to Local Rule 16.1(d), a Case Management Conference was held on
18   May 11, 2018. After consulting with the counsel of record for the parties, being advised
19   of the status of the case, and for good cause shown, IT IS HEREBY ORDERED:
20           1.   The parties must review and familiarize themselves with the Civil Local Rules
21   of this District ("Local Rules"), the Electronic Case Filing Administrative Policies and
22   Procedures ("CM/ECF Manual"), the Standing Order for Civil Cases issued by the Hon.
23   M. James Lorenz ("Standing Order"), and the undersigned Magistrate Judge's Chambers
24   Rules ("Chambers Rules"), all of which are posted on this District's website.
25                                           Pleadings
26           2.   Any motion to join other parties, to amend the pleadings, or to file additional
27   pleadings shall be filed no later than June 11, 2018.
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 1                                           Discovery
 2         3.     All Class Discovery shall be completed by all parties no later than
 3   September, 4, 2018.
 4         4.     A Motion for Class Certification shall be filed on or before
 5   September 14, 2018. Any Opposition to a Motion for Class Certificaiton shall be filed on
 6   or before November 16, 2018. Any Reply shall be filed on or before January 11, 2019.
 7         5.     All fact discovery shall be completed by all parties no later than March
 8   31, 2019. “Completed” means that all discovery under Rules 30-36, and discovery
 9   subpoenas under Rule 45,1 must be initiated a sufficient period of time in advance of the
10   cut-off date, so that it may be completed by the cut-off date, taking into account the times
11   for service, notice and response. Counsel shall promptly and in good faith meet and
12   confer with regard to all discovery disputes in compliance with Local Rule 26.1(a).
13   Counsel shall make every effort to resolve all disputes without court intervention through
14   the meet and confer process. If the parties reach an impasse on any discovery issue, counsel
15   shall file an appropriate motion within the time limit and procedures outlined in the
16   Chambers Rules. A failure to comply in this regard will result in waiver. Absent an
17   order of the court, no stipulation to alter or extend the time to comply with this
18   provision will be recognized by the court.
19         6.     No later than February 22, 2019, the parties shall designate their respective
20   experts in writing. The parties must identify any person who may be used at trial to present
21   evidence pursuant to Rules 702, 703 or 705 of the Federal Rules of Evidence. This
22   requirement is not limited to retained experts. The date for exchange of rebuttal experts
23   shall be no later than March 8, 2019. The written designations shall include the name,
24   address and telephone number of each expert and a reasonable summary of the testimony
25   the expert is expected to provide. The list shall also include the normal rates the expert
26   charges for deposition and trial testimony.
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           All references to "Rule" are to the Federal Rules of Civil Procedure.

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 1           7.    No later than April 12, 2019, each party shall comply with Rule 26(a)(2)(A)
 2   and (B) disclosure provisions. This disclosure requirement applies to all persons retained
 3   or specially employed to provide expert testimony, or whose duties as a party's employee
 4   regularly involve giving expert testimony. Except as provided in the paragraph below,
 5   any party that fails to make these disclosures shall not, absent substantial
 6   justification, be permitted to use the undisclosed evidence or testimony at any hearing
 7   or at trial. In addition, the court may impose sanctions as permitted by Rule 37(c).
 8           8.    No later than April 26, 2019, the parties shall supplement their disclosures
 9   regarding contradictory or rebuttal evidence under Rule 26(a)(2)(D).
10           9.    All expert discovery shall be completed by all parties no later than
11   September 20, 2019. The parties shall comply with the same procedures set forth in the
12   paragraph governing fact discovery.
13           10.   Failure to comply with this section or any other discovery order of the court
14   may result in Rule 37 sanctions, including preclusion of expert or other designated
15   evidence.
16                                            Motion Briefing
17           11.   Except for motions in limine, all pretrial motions must be filed no later than
18   November 15, 2019. As provided herein and in the Standing Order, certain motions,
19   including motions for class certification, must be filed well before this date.
20           12.   Counsel for the moving party must obtain a motion hearing date from the law
21   clerk of the judge who will hear the motion. The period of time between the date of
22   requesting a motion date and the hearing date typically exceeds 30 days. Failure to make
23   a timely request for a motion date may result in the motion not being heard.
24           13.   Motion briefing must comply with all applicable Rules, Local Rules, Standing
25   Order, Chambers Rules and court orders.
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 1                                Mandatory Settlement Conference
 2         14.    A Mandatory Settlement Conference shall be conducted on June 12, 2019 at
 3   9:30 AM in the chambers of Magistrate Judge Karen S. Crawford. Counsel or any party
 4   representing himself or herself shall submit confidential settlement briefs directly to
 5   chambers no later than June 5, 2019.
 6                                      Final Pretrial Conference
 7         15.    Memoranda of Contentions of Fact and Law are not required and will not be
 8   accepted.
 9         16.    No later than September 27, 2019, counsel shall comply with Rule 26(a)(3)
10   pre-trial disclosure requirements. Failure to comply could result in evidence preclusion or
11   other Rule 37 sanctions.
12         17.    No later than October 4, 2019, counsel shall meet and take the action required
13   by Local Rule 16.1(f)(4) with a view to enter into stipulations and agreements to simplify
14   issues for trial. Counsel shall exchange copies and/or display all exhibits other than those
15   to be used for impeachment. The exhibits shall be prepared in accordance with Local Rule
16   16.1(f)(4)(c). Counsel shall note any objections they have to other parties’ Rule 26(a)(3)
17   pretrial disclosures. Counsel shall cooperate in the preparation of the proposed final
18   pretrial conference order.
19         18.    Counsel for plaintiff is responsible for preparing the proposed final pretrial
20   conference order and arranging the meetings of counsel pursuant to Local Rule 16.1(f). No
21   later than October 18, 2019, plaintiff’s counsel must provide opposing counsel with the
22   draft proposed final pretrial order for review and approval. Opposing counsel must
23   communicate promptly with plaintiff’s counsel concerning any objections to form or
24   content. Both sides shall attempt promptly to resolve their differences, if any, concerning
25   the proposed order.
26         19.    The proposed final pretrial conference order, including objections to Rule
27   26(a)(3) pretrial disclosures, shall be served and lodged with Judge Lorenz no later than
28   October 23, 2019, and shall comply with Local Rule 16.1(f)(6).

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 1          20.    The Final Pretrial Conference is scheduled on the calendar of the
 2   Honorable M. James Lorenz on October 28, 2019 at 10:30 AM. Trial briefs are not
 3   required for cases tried to the jury. Leave to file a trial brief for a jury trial must be obtained
 4   from Judge Lorenz at the Final Pretrial Conference.
 5   Additional Provisions
 6          21.    Upon parties' request, a post-trial settlement conference before a Magistrate
 7   Judge may be held within 30 days of verdict.
 8          22.    The dates and times set forth herein will not be modified except for good cause
 9   shown.
10          23.    Plaintiff’s counsel shall serve a copy of this order on all parties that enter this
11   case hereafter.
12          IT IS SO ORDERED.
13   Dated: May 11, 2018
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